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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

 MARY LOUIS AND MONICA DOUGLAS,
 on behalf of themselves and all others
 similarly situated, and COMMUNITY
 ACTION AGENCY OF SOMERVILLE,
 INC.,

         Plaintiffs,
                                                          Civil Case No. 1:22-cv-10800-AK
         v.

 SAFERENT SOLUTIONS, LLC, and
 METROPOLITAN MANAGEMENT
 GROUP, LLC,

         Defendants.


                                    JOINT STATUS REPORT

        In connection with this Court’s Order of January 10, 2024 (Doc. No. 104), Plaintiff Mary

Louis and Defendant Metropolitan Management Group, LLC submit this report regarding the

status of mediation.

        1.       All parties in this case engaged in a mediation session on November 6, 2023, and

with the aid of the Hon. Judge Welsh (Ret.), made progress toward reaching a settlement of this

case.

        2.       Plaintiffs and Defendant SafeRent Solutions have reached a settlement in principle

to resolve the claims by Plaintiffs against Defendant SafeRent Solutions. In accordance with the

Court’s January 3, 2024 Order, Plaintiffs will file a motion for preliminary approval of the

proposed class action settlement between Plaintiffs and SafeRent and corresponding filings by

February 16, 2024.




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       3.       Plaintiff Mary Louis and Defendant Metropolitan are continuing to engage in

settlement discussions regarding the individual claims of Plaintiff Louis against Defendant

Metropolitan. Plaintiff Louis and Defendant Metropolitan have agreed to submit a further status

report by February 2, 2024, that either updates the Court on the status of these parties’ settlement

discussions or that proposes a schedule consistent with the dates provided at the Court’s September

13, 2023 status conference.

       If the Court believes a further order is necessary at this time, the Parties respectfully request

that the Court enter an order directing Plaintiff Mary Louis and Defendant Metropolitan to submit

a further status report by February 2, 2024, that either updates the Court on the status of the these

parties’ settlement discussions or that proposes a schedule consistent with the dates provided at

the Court’s September 13, 2023 status conference.



       Respectfully submitted January 19, 2024, by:

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 19, 2024, I caused the foregoing document to be

electronically filed with the Clerk of the Court using the CM/ECF system and will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF),

pursuant to Local Rule 5.4(c).



                                                     Brian Corman
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